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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                       )
                Plaintiff,                       )
                                                 )
              v.                                 )      1:17-cr-00183-TWP-TAB
                                                 )
 BUSTER HERNANDEZ,                               )
               Defendant.                        )

                          MOTION TO WITHDRAW APPEARANCES

       Joseph M. Cleary and Loren Collins, Indiana Federal Community Defenders,

 moves the Court to withdraw his appearance and in support states the following:

       1. Counsel recently learned from the government that the government became

           aware that a client of undersigned counsel Cleary was a potential witness for

           the government.     Once the government confirmed they intend to use this client

           as a witness, undersigned counsel had no choice but to move to withdraw from

           both cases.

       2. CJA counsel has been obtained for Mr. Hernandez and he is being notified of

           this motion.

       3. Undersigned counsel has contacted AUSA Tiffany Jacqueline Preston and she

           has no objection.

                                           Respectfully submitted,

                                           Joseph M. Cleary
                                           Joseph M. Cleary
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                                            Loren M. Collins
                                            Loren M. Collins
                                            Indiana Federal Community Defenders, Inc.
                                            111 Monument Circle, Suite 3200
                                            Indianapolis, IN 46204
                                            317-383-3520



                                  CERTIFICATE OF SERVICE

        I certify that on July 1, 2019, a copy of the foregoing Motion to Withdraw Appearances
 was filed electronically. Notice of this filing will be sent to the parties of record by operation
 of the Court=s electronic filing system. Parties may access this filing through the Court=s
 system.


                                            Joseph M. Cleary
                                            Joseph M. Cleary
